             Case 2:19-cv-10506-SSV-DMD Document 1 Filed 05/17/19 Page 1 of 24



                                  UNITED STATES DISTRICT COURT

                                 EASTERN DISTRICT OF LOUISIANA

SEAN JONES, BRODRIELLE JONES, KENDALL         *     CIVIL ACTION NO.
JONES ON BEHALF OF D.B., AND LAVERNE          *
PHILLIPS ON BEHALF OF D.G.                    *
INDIVIDUALLY AND ON BEHALF                    *
OF THE DECEASED, KENTRELL HURST               *
                                              *
VERSUS                                        *
                                              *
MARLIN N. GUSMAN, IN HIS OFFICIAL             *
CAPACITY, AS ORLEANS PARISH SHERIFF;          *     JUDGE:
CORRECT CARE SOLUTIONS, L. L. C.;             *
ROGELLO PEREZ, RN; DAVID OATES, RN;           *
PAMMALIER WALKER NP; LISA                     *
PITTMAN, LPN; DELORES THOMPSON, LPN; *
M. PARKER; C. BIBBENS; B. MONTGOMERY; *
CMA LAWSON; ORLEANS PARISH SHERIFF’S *
OFFICE DEPUTIES JOHN/JANE DOES 1-5;           *
MEDICAL STAFF MEMEBERS JOHN/JANE              *     MAG:
DOES 6-10                                     *
*************************************************************************************

                                             COMPLAINT

             This is case about yet another tragic, unnecessary, and preventable death at the Orleans

Parish Prison. On May 25, 2018 Kentrell Hurst was arrested and taken into the custody by the

Orleans Parish Sheriff’s Office. As is the case with a growing number of Americans, Ms. Hurst

suffered from an addiction to opioids. While in the Intake Processing Center, Ms. Hurst started to

show signs of severe withdrawal. Ms. Hurst reported her worsening symptoms to medical staff at

the Intake Processing Center, but they failed to provide her the care she needed. Ms. Hurst’s

condition constituted a full-blown medical emergency requiring immediate medical intervention.

Defendants, herein, failed to provide the necessary reasonable and mandatory medial monitoring

and treatment, resulting in her death at the prison on May 27, 2019. Accordingly, the defendants

herein are liable for her death.




01818554‐1                                          1
             Case 2:19-cv-10506-SSV-DMD Document 1 Filed 05/17/19 Page 2 of 24



                                     JURISDICTION AND VENUE

                                                     1.

             This action is brought pursuant to 42 U.S.C. § 1983, based on the Eighth and Fourteenth

Amendments to the United States Constitution, and 42 U.S.C. § 1988. Jurisdiction is founded on

28 U.S.C. § 1331and 1343, and the aforementioned statutory and constitutional provisions.

Plaintiffs also invoke supplemental jurisdiction over claims under state constitutional and statutory

law pursuant to 28 U.S.C. § 1367.

                                                     2.

             Venue is proper in this Court because the causes of action occurred within the Eastern

District of Louisiana and all Defendants worked and/or reside within this district.

                                                 PARTIES

                                                     3.

                                              (PLAINTIFFS)

             Named Plaintiffs herein are:

         a. SEAN JONES is an adult citizen of the United States and is domiciled in the Eastern

               District of Louisiana. He brings this claim individually and on behalf of his mother the

               decedent, Kentrell Hurst including all survival and wrongful death actions.

         b. BRODRIELLE JONES is an adult citizen of the United States and is domiciled in the

               Eastern District of Louisiana. She brings this claim individually and on behalf of her

               mother the decedent, Kentrell Hurst including all survival and wrongful death actions.

         c. KENDALL JONES on behalf of D.B., a minor citizen of the United States and is

               domiciled in the Eastern District of Louisiana. He brings this claim individually and on




01818554‐1                                           2
             Case 2:19-cv-10506-SSV-DMD Document 1 Filed 05/17/19 Page 3 of 24



               behalf of his mother the decedent, Kentrell Hurst including all survival and wrongful

               death actions.

         d. LAVERNE PHILLIPS on behalf of D.G., a minor of the United States and is domiciled

               in the Eastern District of Louisiana. He brings this claim individually and on behalf of

               his mother the decedent, Kentrell Hurst including all survival and wrongful death actions.

                                                (DEFENDANTS)

             Named Defendants herein are:

             a) MARLIN N. GUSMAN, in his individual and official capacity as Sheriff of Orleans

                Parish, is an adult citizen of the United States and is domiciled in the Eastern District

                of Louisiana. At all times herein, he was the Sheriff of Orleans Parish and, as such,

                was responsible for the hiring, training, supervision, discipline, and control of the

                deputies under his command, as well as medical personnel. He was responsible for all

                actions of the Orleans Parish Sheriff’s Office and its correctional facilities’ staff. He

                was also responsible for the supervision, administration, policies, practices, customs,

                and operation of the Orleans Parish Sheriff’s Office and its correctional facilities. He

                was and is a final policy maker, and he is liable both directly and vicariously for the

                actions complained of herein.

             b) CORRECT CARE SOLUTIONS, L.L.C., was at all relevant times the entity with

                which the Orleans Parish Sheriff’s Office contracted to provide medical and mental

                health services to prisoners at the Orleans Parish Prison, including the Intake

                Processing Center. Correct Care Solutions, LLC. was responsible for providing all

                staffing, training, policies, and procedures for all medical and mental health personnel

                at Orleans Parish Prison.



01818554‐1                                            3
             Case 2:19-cv-10506-SSV-DMD Document 1 Filed 05/17/19 Page 4 of 24



             c) ROGELIO PEREZ, R.N., in his individual and official capacity as a registered nurse

                with Correct Care Solutions, LLC, is an adult citizen of the State of Louisiana, and on

                information and belief, domiciled in the Eastern District of Louisiana. Defendant

                PEREZ was assigned as a nurse at the Intake Processing Center where Ms. Hurst died.

                At all pertinent times, he was responsible for providing care to detainees like Ms. Hurst

                and for supervising and overseeing the job performance of other medical personnel

                operating at the Intake Processing Center.

             d) DAVID OATES, R.N., in his individual and official capacity as a registered nurse with

                Correct Care Solutions, LLC., is an adult citizen of the State of Louisiana, and on

                information and belief, domiciled in the Eastern District of Louisiana. Defendant

                OATES was assigned as a nurse at the Intake Processing Center where Ms. Hurst died.

                At all pertinent times, he was responsible for providing care to detainees like Ms. Hurst

                and for supervising and overseeing the job performance of other medical personnel

                operating at the Intake Processing Center.

             e) PAMMALIER WALKER, in her individual and official capacity as a Nurse

                Practitioner with Correct Care Solutions, LLC., is an adult citizen of the State of

                Louisiana, and on information and belief, domiciled in the Eastern District of

                Louisiana. Defendant WALKER was assigned as a Nurse Practitioner at the Intake

                Processing Center where Ms. Hurst died. At all pertinent times, she was responsible

                for providing care to detainees like Ms. Hurst and for supervising and overseeing the

                job performance of other medical personnel operating at the Intake Processing Center.

             f) LISA PITTMAN, in her individual and official capacity as an LPN with Correct Care

                Solutions, LLC., is an adult citizen of the State of Louisiana, and on information and



01818554‐1                                            4
             Case 2:19-cv-10506-SSV-DMD Document 1 Filed 05/17/19 Page 5 of 24



                belief, domiciled in the Eastern District of Louisiana. Defendant PITTMAN was

                working as an LPN at the Intake Processing Center on the day when Ms. Hurst died.

                She was responsible for providing her appropriate care.

             g) DOLORES E. THOMPSON, in her individual and official capacity as an LPN with

                Correct Care Solutions, LLC., is an adult citizen of the State of Louisiana, and on

                information and belief, domiciled in the Eastern District of Louisiana. Defendant

                THOMPSON was working as an LPN at the Intake Processing Center on the day when

                Ms. Hurst died. She was responsible for providing her appropriate care.

             h) M. PARKER, in her individual and official capacity as a health care professional with

                Correct Care Solutions, LLC., is an adult citizen of the State of Louisiana, and on

                information and belief, domiciled in the Eastern District of Louisiana. Defendant

                PARKER was working as a health care professional at the Intake Processing Center

                on the day when Ms. Hurst died. She was responsible for providing her appropriate

                care.

             i) C. BIBBENS, in her individual and official capacity as a health care professional with

                Correct Care Solutions, LLC., is an adult citizen of the State of Louisiana, and on

                information and belief, domiciled in the Eastern District of Louisiana. Defendant

                BIBBENS was working as a health care professional at the Intake Processing Center

                on the day when Ms. Hurst died. She was responsible for providing her appropriate

                care.

             j) B. MONTGOMERY, in her individual and official capacity as a health care

                professional with Correct Care Solutions, LLC., is an adult citizen of the State of

                Louisiana, and on information and belief, domiciled in the Eastern District of



01818554‐1                                           5
             Case 2:19-cv-10506-SSV-DMD Document 1 Filed 05/17/19 Page 6 of 24



                Louisiana. Defendant MONTGOMERY was working as a health care professional at

                the Intake Processing Center on the day when Ms. Hurst died. She was responsible for

                providing her appropriate care.

             k) CMA LAWSON, in her individual and official capacity as a health care professional

                with Correct Care Solutions, LLC., is an adult citizen of the State of Louisiana, and on

                information and belief, domiciled in the Eastern District of Louisiana. Defendant

                LAWSON was working as a Certified Medical Assistant at the Intake Processing

                Center on the day when Ms. Hurst died.          She was responsible for providing her

                appropriate care.

             l) ORLEANS PARISH SHERIFF’S OFFICE DEPUTIES JOHN/JANE DOES 1-5,

                in their individual and official capacities as Orleans Parish Sheriff’s Deputies, are adult

                citizens of the State of Louisiana and, on information and belief, are domiciled in the

                Eastern District of Louisiana. At all pertinent times, defendants, JOHN/JANE DOES

                1-5 were employed by the Orleans Parish Sheriff’s Office as correctional officers

                assigned to the Intake Processing Center. On information and belief, defendants,

                JOHN/JANE DOES 1-5 failed to monitor Ms. Hurst and/or to provide immediate

                referral to medical personnel as his condition worsened.

             m) MEDICAL STAFF MEMBERS JOHN/JANE DOES 6-10, in their individual and

                official capacities as employees of the Correct Care Solutions, LLC., are adult citizens

                of the State of Louisiana and, on information and belief, are domiciled in the Eastern

                District of Louisiana. At all pertinent times, defendants, JOHN/JANE DOES 6-10

                were employed by Correct Care Solutions as medical professionals assigned to the




01818554‐1                                            6
             Case 2:19-cv-10506-SSV-DMD Document 1 Filed 05/17/19 Page 7 of 24



                Intake Processing Center.    On information and belief, defendants, JOHN/JANE

                DOES 6-10 failed to monitor Ms. Hurst, who died as a result of their negligence.

                                     FACTUAL ALLEGATIONS

                                                    4.

             Contrary to the CORRECT CARE SOLUTIONS, L.L.C. Clinical Opiate Withdrawal

Symptom (“COWS”) protocol, defendants, including all R.N. staff, failed to monitor Ms. Hurst’s

vital signs and physical symptoms as required. On information and belief, Ms. Hurst continued to

complain to these defendants and others of severe abdominal pain, nausea, and vomiting at various

points during the night. Such symptoms were signs that Ms. Hurst was suffering a healthcare

emergency warranting immediate transfer to a hospital, but they were ignored and blatantly

disregarded by these defendants.

                                                    5.

             On information and belief, on May 27.2018, defendants PEREZ, PITTMAN, PARKER,

BIBBENS, MONTGOMERY, and LAWSON (sometimes referred to herein as the “Day Shift

Defendants”) started their shift at the Intake Processing Center. They assumed care of Ms. Hurst

at this time.

                                                    6.

             During all relevant times, Ms. Hurst continued to complain of severe abdominal pain and

nausea to defendants herein, the day and night R.N. staff, including but not limited to PEREZ,

PITTMAN, PARKER, BIBBENS, MONTGOMERY, and LAWSON, and prison personnel.

Despite her continued reports of severe pain, these defendants failed to follow the COWS protocol

for Ms. Hurst or to route her to the hospital. These defendants failed to properly check and monitor

her vitals at any point in time. A check of Ms. Hurst’s vitals, as was required by COWS protocol



01818554‐1                                          7
             Case 2:19-cv-10506-SSV-DMD Document 1 Filed 05/17/19 Page 8 of 24



and warranted by her reported symptoms, would have shown that Ms. Hurst was in a medical crisis

that required immediate hospitalization. However, these defendants ignored their duties to Ms.

Hurst, as well as her repeated pleas for help.

                                                   7.

             On information and belief, Ms. Hurst complained to one or more deputies JOHN/ JANE

DOES 1-5 and one or more medical defendants JOHN/JANE DOES 6-10 about his deteriorating

condition on May 26-27, 2018. However, these deputies and medical defendants deliberately

disregarded her complaints and failed to notify appropriate staff or take other action.

                                                   8.

             The failures culminating in Kentrell Hurst’s death – specifically, a failure to provide

adequate health care, is a long-term problem at the Orleans Parish Prison. There is a longstanding

problem and practice of both guards and medical staff ignoring and disregarding the serious

medical conditions of inmates. All defendants in this matter were aware of the problems with

healthcare at the Orleans Parish Prison but failed to address them with adequate reforms and more

importantly mandatory protocols were not followed.

                                                   9.

             There is a well-documented pattern and practice at Orleans Parish Prison of inadequate

medical staffing and failing to monitor sick inmates, including those suffering from withdrawal

symptoms thereby permitting, and in fact, creating unconstitutional risks to inmate safety. There

is further a pattern and practice of failing to provide constitutionally adequate healthcare to inmates

housed in the Orleans Parish Prison facilities. There is also a pattern and practice of failing to

adhere to policies and procedures, as well as, a pattern and practice of failing to monitor, supervise,




01818554‐1                                          8
             Case 2:19-cv-10506-SSV-DMD Document 1 Filed 05/17/19 Page 9 of 24



and discipline for Orleans Parish Sheriff’s deputies’ and medical staff’s failure to follow policies

and procedures.

                                                    10.

             The defendants, particularly defendants, GUSMAN and CORRECT CARE

SOLUTIONS, L.L.C., knew, must have known, or should have known of these unconstitutional

patterns and practices. There are numerous tragic examples of inmates under these defendants’

care, custody, and control being subjected to unconstitutional risks of harm, which frequently

results in serious injury to the inmate or even death.

                                                    11.

             At the time of the detention of Kentrell Hurst by the Orleans Parish Sheriff’s Office and

the Orleans Parish Prison, the defendants knew, must have known, or should have known of serious

deficiencies in the policies, practices and procedures at the prison related to medical screening and

the care and observation of prisoners. Defendants were also aware of the inadequate staffing and

inadequate training and supervision of medical and correctional staff regarding medical problems

of inmates. Despite their knowledge of these serious deficiencies, the defendants failed to make

necessary changes to policies, procedures, training or staffing or to intervene to see that Kentrell

Hurst and others in their custody were provided adequate treatment for serious health needs.

                                                    12.

             On information and belief, defendants herein have been involved in other incidents

involving inadequate supervision and treatment for prisoners with serious medical needs which

resulted in serious harm, injury, suffering and/or death to inmates in their care. Yet few of these

defendants and/or other Orleans Parish Sheriff’s Office/Correct Care Solutions, LLC. staff who

were similarly derelict in their duties were appropriately disciplined or held accountable for their



01818554‐1                                           9
         Case 2:19-cv-10506-SSV-DMD Document 1 Filed 05/17/19 Page 10 of 24



actions or omissions. In addition, those responsible for training and supervising Orleans Parish

Sheriff’s Office/Correct Care Solutions, LLC.’s staff have failed in their own responsibilities to

provide adequate care to prisoners and have not been subject to disciplinary action or

accountability for failing in their supervisory and/or training responsibilities.

                                                     13.

             There have been numerous reports prior to Kentrell Hurst’s incarceration, which placed all

defendants on notice regarding the unconstitutional conditions and failures at the prison.

                                                     14.

             On April 23, 2012 the Department of Justice (“DOJ”) issued a findings letter based on an

ongoing investigation of the Orleans Parish Prison. This letter documented serious constitutional

violations, policies and practices that violated generally accepted standards of care for custodial

institutions.

                                                     15.

             In its April 23, 2012 letter the Department of Justice found that “the Orleans Parish Prison

is deliberately indifferent to prisoners with serious medical and mental health needs…. Prisoners

with physical illness, either chronic or emergent, experience unreasonable barriers in accessing

care. As a result, prisoners suffer during their incarceration and thus, are returned to the

community, in far too many cases, sicker and less equipped to avoid future involvement with the

criminal justice system than when they entered.”

                                                     16.

             In 2012, a class-action complaint asserting unconstitutional conditions at Orleans Parish

Sheriff’s Office and their facilities was filed against defendant GUSMAN. The filings and

proceedings during that litigation include multiple reports by security and medical experts, a



01818554‐1                                           10
         Case 2:19-cv-10506-SSV-DMD Document 1 Filed 05/17/19 Page 11 of 24



consent judgment signed by Defendant GUSMAN, testimony at a three-day fairness hearing, and,

finally, Judge Lance Africk’s lengthy and detailed order approving the consent judgment. See

Jones, et al. v. Gusman, et al., EDLA #12-cv-859.

                                                    17.

             Judge Africk signed his order approving the consent judgment governing the operations of

the Orleans Parish Sheriff’s and its facilities on June 6, 2013, over four years before Ms. Hurst’s

death. The judgment included numerous findings and requirements regarding medical care at the

Orleans Parish Prison. The requirements set forth in the order were designed to bring Orleans

Parish Prison facilities into compliance with the U.S. Constitution.

                                                    18.

             Judge Africk’s order outlined several “stark, sometimes shocking, deficiencies in OPP’s

medical and mental health care system.” The judge discussed his findings related to health care at

the Orleans Parish Prison by concluding that “[t]he evidences presented shows that a lack of

treatment altogether, rather than inadequate treatment, contributes to severe deficiencies in medical

and mental health care at OPP.” He noted that “‘[a] prison that deprives inmates of basic

sustenance, including adequate medical care, incompatible with the concept of human dignity and

has no place in civilized society.’” The judge specifically found that “[t]he consent judgment

provisions on mental and medical health care are necessary to remedy the violation of federal

rights, and they are the least intrusive means of doing so.”

                                                    19.

             Judge Africk noted constitutional deficiencies in Orleans Parish Sheriff’s Office/Orleans

Parish Prison’s treatment of detoxifying inmate, including that Orleans Parish Sheriff’s

Office/Orleans Parish Prison failed to monitor them consistently and failed to respond adequately



01818554‐1                                          11
         Case 2:19-cv-10506-SSV-DMD Document 1 Filed 05/17/19 Page 12 of 24



to life threatening symptoms. Judge Africk also made findings related to the “dramatically

insufficient staffing” of mental and medical health care providers. The judge noted that the ratio

of nurses to prisoners makes it “impossible for the nurses to adequately evaluate and chart patients,

administer medications, respond to emergencies, provide suicide monitoring, gather sick call

information, and provide basic nursing services.”

                                                  20.

             Defendants, GUSMAN and CORRECT CARE SOLUTIONS, L.L.C. knew, must have

known, or should have known of these deficient conditions, including inadequate medical care, as

described in the previous reports and litigation. Despite the above history noted, these conditions

persist to this day at the Orleans Parish prison facilities; however, these defendants have failed to

make appropriate and necessary changes in policies, procedures, staffing, training, and/or facilities

to protect inmates from harm, including harm from a failure to provide adequate medical care.

These defendants also failed to ensure that appropriate supervision and disciplinary action was

taken in situations where prisoners suffered or died as the result of inadequate or inappropriate

care or treatment by the Orleans Parish Sheriff’s Office staff.

                                                  21.

             Defendants knew, must have known, or should have known that the standard of care for

those experiencing health crises could not be met by the policies, procedures, or staffing of the

Orleans Parish Prison and Correct Care Solutions, LLC. but failed to take appropriate steps to see

that Kentrell Hurst or other inmates in similar situations received appropriate and adequate care in

accordance with community standards of care.




01818554‐1                                        12
         Case 2:19-cv-10506-SSV-DMD Document 1 Filed 05/17/19 Page 13 of 24



                                                 22.

             Furthermore, despite their knowledge of these conditions the defendants ratified or

condoned such acts or omissions by the Orleans Parish Sheriff’s Office and Correct Care

Solutions, LLC.’s staff which caused serious harm, suffering, and death to prisoners at the Orleans

Parish Prison and maintained a custom and practice whereby there was no accountability for

Orleans Parish Sheriff’s Office and Correct Care Solutions, LLC.’s staff who mistreated prisoners

or who violated policies, procedures or standards of care for prisoners. The defendants’ actions

and failures to act were a direct and motivating force that caused the death of Kentrell Hurst on

May 27, 2018.

                                                 23.

             Defendants, GUSMAN, as Sheriff of Orleans Parish and MAYNARD, as the Compliance

Director of Orleans Parish Prison, were ultimately responsible for hiring, training, supervising,

disciplining, and/or retaining all employees at the Orleans Parish Prison. They were responsible

for all policies and procedures at the Intake Processing Center, and they were responsible for every

other defendant named herein.

                                                 24.

             Defendant CORRECT CARE SOLUTIONS, L.L.C. is ultimately responsible for hiring,

training, supervising, disciplining, and/or retaining the medical defendants.         It is further

responsible for policies, procedures, and customs of the medical personnel of the Orleans Parish

Prison. Further, CORRECT CARE SOLUTIONS, L.L.C. had the responsibility and duty for

the diagnosis, oversight, review, monitoring, supervision, and evaluation of Kentrell Hurst’s

medical needs, the delivery of care for her, and the policies and procedures governing her

treatment. CORRECT CARE SOLUTIONS, L.L.C. actions with respect to the care of Kentrell



01818554‐1                                       13
         Case 2:19-cv-10506-SSV-DMD Document 1 Filed 05/17/19 Page 14 of 24



Hurst exhibited deliberate indifference to Ms. Hurst ’serious medical needs. Furthermore, and in

the alternative, CORRECT CARE SOLUTIONS, L.L.C. are of fell below the applicable

standard of care and was negligent. CORRECT CARE SOLUTIONS, L.L.C. is also liable under

the doctrine of respondent superior for both the conditional violations and the state law torts of its

employees, as described herein.

                                                 25.

             Defendants, OATES, WALKER, THOMPSON, PEREZ, PITTMAN, PARKER,

BIBBENS, MONTGOMERY, and LAWSON were responsible for providing adequate and

appropriate medical care of Kentrell Hurst, including routing her to the hospital in case of a

medical emergency.         They were further responsible for the documentation and paperwork

necessary for continuity of care of Kentrell Hurst, including evaluation and monitoring of her

withdrawal symptoms under the COWS protocol. These defendants failed in their responsibility

to ensure that Kentrell Hurst was in a safe, appropriate environment and that she was receiving

care for her medical needs. These defendants’ actions with respect to the care of Kentrell Hurst

exhibited deliberate indifference to Ms. Hurst’s serious medical needs. Furthermore, and in the

alternative, these defendants’ care of Kentrell Hurst was grossly negligent and fell below the

applicable standard of care.

                                                 26.

             Defendant, Orleans Parish Sheriff’s deputies, JANE and JOHN DOES #1-5, are persons

who had the responsibility and duty to monitor and act on Kentrell Hurst’s behalf when she

reported to them with such serious medical issues. Thus, exhibiting deliberate indifference and

negligence, each of these defendants failed in their duty to her.




01818554‐1                                       14
         Case 2:19-cv-10506-SSV-DMD Document 1 Filed 05/17/19 Page 15 of 24



                                                     27.

             Defendant, CORRECT CARE SOLUTIONS, L.L.C.’s employees, JANE and JOHN

DOES #6-10, are persons who had the responsibility and duty to monitor and act on Kentrell

Hurst’s behalf when she reported to them with such serious medical issues.             Thus, exhibiting

deliberate indifference and negligence, each of these defendants failed in their duty to her.

                                                     28.

             The failures of the above described defendants to comply with their duties and their breach

of the applicable standards of care with respect to Kentrell Hurst while she was in their care

ultimately resulted in her suffering and death on May 27, 2018.

                                                     29.

             Policy-making defendants, including GUSMAN and CORRECT CARE SOLUTIONS,

L.L.C. knew that the policies, practices, and procedures with respect to healthcare at the Orleans

Parish Prison were inadequate and posed a danger of serious bodily harm to detainees at the

Orleans Parish Prison. However, they took no actions to correct these policies, practices, and

procedures.        Their inactions with respect to these policies, practices, and procedures were

motivated by deliberate indifference and/or culpable negligence to the serious risks to detainees.

                                                     30.

             Kentrell Hurst’s risks of serious harm and/or death was known, obvious, and must have

been known, and/or should have been known to all defendants named herein. All defendants failed

to take appropriate actions and necessary measures to protect and preserve Kentrell Hurst’s life

and safety, as set forth herein. All defendants’ actions, as described herein, were taken with

deliberate indifference to Kentrell Hurst’s risk of serious bodily harm and/or failed to meet the

applicable standard of care and were reckless and/or negligent.



01818554‐1                                           15
         Case 2:19-cv-10506-SSV-DMD Document 1 Filed 05/17/19 Page 16 of 24



                                                      31.

             The defendants are responsible jointly and in solido for the death of Kentrell Hurst.

                                                      32.

             The decedent, Kentrell Hurst, is the biological mother of Plaintiffs herein, Sean Jones,

Brodrielle Jones, D.B., and D.G., who bring these survival and wrongful death claims individually

and on behalf of the decedent, Kentrell Hurst.

                                           SURVIVAL ACTION

                                                      33.

             Plaintiffs incorporate and reiterate by reference herein all preceding paragraphs as fully set

forth above.

                                                      34.

             Plaintiffs herein assert any and all survival claims associated with the negligence and

conduct of the Defendants as more fully set forth above and below in each cause of action.

                                                      35.

             Pursuant to Louisiana Civil Code art. 2315.1, if a person who has been injured by offense

or quasi offense dies, the right to recover all damages for injury to that person, his property or

otherwise, caused by the offense or quasi offense shall survive for a period of one year from the

death of the decedent in favor of his surviving child or children.

                                                      36.

             Kentrell Hurst died as a result of the Defendants’ negligence and wrongful conduct.

                                                      37.

             Kentrell Hurst would have been entitled to bring this action against Defendants had she

survived.



01818554‐1                                            16
         Case 2:19-cv-10506-SSV-DMD Document 1 Filed 05/17/19 Page 17 of 24



                                                      38.

             Decedent’s right of action for the wrongful conduct against the Defendants survive in favor

of her heirs, legal representative and the Estate of the deceased in accordance with Louisiana Civil

Code Article 2315.1.

                                                      39.

             Defendants are liable to Plaintiffs for the loss of Mrs. Hurst’s life, pain and suffering, and

the violation of her civil rights as more fully set forth herein.

                                                      40.

             Plaintiffs herein seek compensation as more fully set forth in “Damages” section of this

Complaint.

                                           WRONGFUL DEATH

                                                      41.

             Plaintiffs incorporate and reiterate by reference herein all preceding paragraphs as fully set

forth above.

                                                      42.

             Plaintiffs herein assert any and all wrongful death claims associated with the negligence

and conduct of the Defendants as more fully set forth above and below in each cause of action.

                                                      43.

             Pursuant to Louisiana Civil Code art. 2315.2, if a person dies due to the fault of another,

suit may be brought by surviving children to recover damages which they sustained as result of

the death of their parent, and Sean Jones, Brodrielle Jones, D.B., and D.G. are the surviving

children of the decedent, Kentrell Hurst.




01818554‐1                                            17
         Case 2:19-cv-10506-SSV-DMD Document 1 Filed 05/17/19 Page 18 of 24



                                                     44.

             The Defendants’ conduct, acts and omissions were the proximate cause of Ms. Hurst’s

injuries, and emotional pain and suffering, ultimately resulting in her death. Defendants are also

responsible for the emotional distress caused by the wrongful death of Ms. Hurst.

                                                     45.

             Plaintiffs herein seek compensation as more fully set forth in “Damages” section of this

Complaint.

                                          CAUSES OF ACTION

                                                     46.

             Plaintiffs repeat and re-challenge every allegation of this Complaint.

                                                     47.

             The defendants, acting both individually and collectively, and under color of law, engaged

in a course of conduct and conspired to engage in a course of conduct that acted to deprive Kentrell

Hurst of her constitutional rights, did deprive her of said rights, specifically, the right of Kentrell

Hurst to a reasonable safe and secure place of detention, reasonable and adequate medical care,

the right to be free from cruel and unusual punishment, and the right to due process and equal

protection of the laws as protected by the Eighth and Fourteenth Amendments and Article IV

(Privileges and Immunities Clause) of the United States Constitution and 42 U.S.C. § 1983.

                                                     48.

             At all times pertinent herein, the defendants, acting individually and collectively, acted

unreasonably, recklessly, and with deliberate indifference and disregard for the constitutional and

civil rights and life and serious medical needs of the decedent, Kentrell Hurst.




01818554‐1                                           18
         Case 2:19-cv-10506-SSV-DMD Document 1 Filed 05/17/19 Page 19 of 24



                                                       49.

             The defendants’ actions were reckless, willful, wanton, and/or malicious in nature.

                                                       50.

             Defendants, individually and collectively, had the duty and ability to intervene to prevent

the violation of Kentrell Hurst’s rights, as described herein, but failed to do so.

                                                       51.

             Plaintiffs further allege that such acts as alleged herein were the proximate cause and cause

in fact of the injuries sustained, as well as, the death of Kentrell Hurst and the damages incurred

thereby.

                                                       52.

             Defendant, Correct Care Solutions, LLC. is liable directly and under the doctrine of

respondent superior for the constitutional torts of its employees committed in the course and scope

of their employment.

                                                       53.

             Defendants, GUSMAN and CORRECT CARE SOLUTIONS, L.L.C., acting

individually and collectively, established, condoned, ratified, and encourage customs, policies,

patterns, and practices that directly and proximately caused the deprivation of the civil and

constitutional rights of the decedent, as alleged herein, and the damages and injuries described

herein, in Eighth and Fourteenth Amendments and Article IV (Privileges and Immunities Clause)

of the United States Constitution and 42 U.S.C. § 1983. They did so with deliberate indifference

to the rights of the detainees at the Orleans Parish Prison facilities.

                                                       54.

             In addition to the injuries sustained by the plaintiffs herein, the deliberate indifference of



01818554‐1                                             19
         Case 2:19-cv-10506-SSV-DMD Document 1 Filed 05/17/19 Page 20 of 24



defendants, GUSMAN and CORRECT CARE SOLUTIONS, L.L.C, in their official capacities

as Sheriff of Orleans Parish and the medical provider for the Orleans Parish Prison, to the serious

medical needs of detainees under their custody and control has resulted in numerous other

instances of detainees suffering serious, and oftentimes fatal, injuries and illnesses.

                                                     55.

             At all times pertinent herein, the defendants acted unreasonably and with deliberate

indifference and disregard for the constitutional and civil rights to life and safety of the decedent,

Kentrell Hurst. The actions of the defendants were malicious, willful, wanton, and reckless.

                                                     56.

             Plaintiffs further allege that such acts and omissions as alleged herein were the proximate

cause and cause in fact of the death of Kentrell Hurst, the injuries suffered by the plaintiffs, and

the damages incurred.

                               CAUSE OF ACTION – LOUISIANA LAW

                                                     57.

             Plaintiffs repeat and re-allege every allegation of this Complaint.

                                                     58.

             The supplemental jurisdiction of the Court is invoked for all claims under state law.

                                                     59.

             At all times described herein, the defendants, individually and collectively, acted

negligently, with negligence, gross negligence, and or intentionally in denying reasonable and

necessary medical care to Kentrell Hurst and failing to properly monitor her, thereby inflicting

physical injury and severe emotional, mental, and physical pain and suffering upon her, in violation

of Louisiana Constitutional and Statutory law.



01818554‐1                                            20
         Case 2:19-cv-10506-SSV-DMD Document 1 Filed 05/17/19 Page 21 of 24



                                                      60.

             The actions and inactions of the defendants cause the wrongful death of Kentrell Hurst. At

all pertinent times herein, the defendant employees of GUSMAN, in their official capacity, and

the defendant employees of CORRECT CARE SOLUTIONS, LLC. were acting in the course

and scope of their employment. The defendant sheriff, GUSMAN, in his official capacity, and/or

CORRECT CARE SOLUTIONS, LLC. are vicariously liable for the injuries and damages

incurred herein as a result of their actions.

                                                      61.

             All defendants named herein are liable for the wrongs complained of herein by virtue of

encouraging, aiding, abetting, counseling, ratifying, and condoning the commission of the afore-

described acts, by their failure to properly administer, organize, and staff the medical and

correctional program and for the failure to properly screen, hire, train, and discipline persons under

their supervision and control whose acts and omissions contributed to the death of Kentrell Hurst.

                                                      62.

             The defendants are liable, individually and in solido, for their actions as alleged herein.

                                                      63.

             Plaintiffs further allege that the above-described actions and omissions were the proximate

cause and cause in fact of the injuries sustained herein.

                                    DAMAGES (ALL DEFENDANTS)

                                                      64.

             As a result of the actions and/or omissions of the defendants being the proximate cause of

the following injuries suffered by Plaintiff and/or Decedent and as such Plaintiff requests damages

for each and every injury outlined herein pursuant to Louisiana Civil Code art. 2315.1 and 2315.2:



01818554‐1                                            21
         Case 2:19-cv-10506-SSV-DMD Document 1 Filed 05/17/19 Page 22 of 24



             a. Ms. Hurst’s pain and suffering prior to her death;

             b. Ms. Hurst’s mental anguish and anxiety prior to her death;

             c. Ms. Hurst’s funeral expenses and other final expenses;

             d. Petitioner’s loss of love, affection, society and services;

             e. Petitioner’s mental anguish and anxiety;

             f. Petitioner’s loss of support;

             g. Petitioner’s medical expenses;

             h. Loss of enjoyment of life;

             i. Loss of income;

             j. Loss of support;

             k. Loss of comfort, financial assistance, protection, affection and care;

             l. Actual damages;

             m. Loss of quality of life;

             n. Loss of future earnings and contributions to Plaintiff;

             o. Exemplary and punitive damages as well as costs of court;

             p. Pursuant to 42 U.S.C. § 1988, and other applicable laws, Plaintiff should be

                awarded costs, reasonable attorney’s fees for the preparation and trial of this course

                of action, and for its appeal, if required;

             q. Prejudgment and post judgment interest;

             r. Plaintiff seeks unliquidated damages in an amount that is within the jurisdictional

                limits of the court; and

             s. Any and all other damages which may or will be proven at the trial of this matter.




01818554‐1                                         22
         Case 2:19-cv-10506-SSV-DMD Document 1 Filed 05/17/19 Page 23 of 24



                                                     65.

             Additionally, Kentrell Hurst (decedent) suffered conscious and severe physical, mental,

and emotional distress, pain, suffering prior to her death and lost her life for which the children of

Kentrell Hurst, plaintiffs herein, are entitled to recover.

                                                     66.

             Additionally, the children of Kentrell Hurst, plaintiffs herein, suffered emotional pain and

suffering; past, present and future; loss of support; and the loss of love, affection, and

companionship of their mother, Kentrell Hurst.

                                         PRAYER FOR RELIEF



             WHEREFORE, plaintiffs pray that after the proceedings are had there be judgment

rendered herein in plaintiffs’ favor and against all defendants, individually and in solido, as

follows:

    1.       Compensatory and punitive damages as prayed for herein;

    2.       Reasonable attorneys’ fees, as provided for in 42 U.S.C. § 1988 and all costs of these

             proceedings and legal interest;

    3.       All other relief as appears past and proper to this Honorable Court.




01818554‐1                                           23
         Case 2:19-cv-10506-SSV-DMD Document 1 Filed 05/17/19 Page 24 of 24



                                 Respectfully submitted,

                                 LAW OFFICES OF COREY M. OUBRE, L.L.C.



                                 ____________________________________
                                 COREY M. OUBRE #28709
                                 732 Paul Maillard Road
                                 Luling, Louisiana 70070
                                 Telephone: (985) 785-6620
                                 Facsimile: (985) 785-6628
                                 Email: cmoubre@oubrelaw.com
                                 Counsel for Plaintiffs

                                 AND


                                 KETRY LAW FIRM, L.L.C.

                                 ____________________________________
                                 GEORGE R. KETRY, JR. #36976
                                 732 Paul Maillard Road
                                 Luling, Louisiana 70070
                                 Telephone: (985) 785-6620
                                 Facsimile: (985) 785-6628
                                 Email: ketrylawfirm@gmail.com
                                 Counsel for Plaintiffs




01818554‐1                                24
